Prob 12 (Rev. 11/1/2004)

                              United States District Court
                                               for the
                                    DISTRICT OF MINNESOTA
                           United States v. Andrew Nathaniel David Piontek
                               Docket No. 0864 0:19CR00093-001(JRT)
                                   Petition on Supervised Release

        COMES NOW Zachary J. Zwahl, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct and attitude of Andrew Nathaniel David Piontek
who was sentenced for Interstate Transportation of Child Pornography on March 2, 2020, by the
Honorable John R. Tunheim, who fixed the period of supervision at 8 years supervised release,
and imposed the general terms and conditions theretofore adopted by the Court and also imposed
special conditions and terms as follows:

                  Submit to searches
                  Computer restrictions
                  No child pornography
                  No association with persons under age 18
                  Sex offender risk assessment and/or mental health treatment

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

    STANDARD CONDITION: You must answer truthfully the questions asked by your
    probation officer.

    SPECIAL CONDITION: The defendant shall not possess or use a computer or have access to
    any on-line service without the prior approval of the U.S. Probation and Pretrial Services
    Office. The defendant's cooperation shall include, but not be limited to, allowing installation
    of a computer and Internet monitoring program and/or identifying computer systems,
    Internet-capable devices, and similar memory and electronic devices to which the defendant
    has access. Monitoring may include random examinations of computer systems along with
    Internet, electronic, and media storage devices under the defendant's control. The computer
    system or devices may be removed for a more thorough examination, if necessary.

    The defendant shall not possess, view, access, or otherwise use child pornography or any
    material that is sexually stimulating or sexually oriented deemed to be inappropriate by the
    U.S. Probation Officer in consultation with the treatment provider.

On September 16, 2024, the defendant was in possession of an internet-capable device without
approval. He lied to his supervising officer about this device and about accessing the internet.
The defendant was also in possession of printed images of nude minors.
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 PRAYING THAT THE COURT WILL ORDER that a warrant be issued and the defendant be
      brought before the Court to show cause why supervision should not be revoked.

          [The rationale for a warrant is contained in Section 5 of the violation report.]

         ORDER OF THE COURT                              I declare under penalty of perjury that
                                                         the foregoing is true and correct.
Considered and ordered this __________
                            20th        day
    September 2024
of __________________,    and ordered filed              s/Zachary J. Zwahl
and made a part of the records in the above
case.                                                    Zachary J. Zwahl
                                                         Senior U.S. Probation Officer
                                                         Telephone: 612-664-5439
s/John R. Tunheim
Honorable John R. Tunheim                                Executed on      September 19, 2024
Senior U.S. District Judge
                                                         Place            Minneapolis

                                                         Approved:

                                                         s/ Dawn Arenz
                                                         Dawn Arenz
                                                         Supervisory U.S. Probation Officer
